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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------- x
THE DASH GROUP LLC,                 :
                                    :                     20-cv-10671 (JSR)
                                    :
        Petitioner,                 :
                                    :                       AMENDED ORDER
                -v-                 :
                                    :
JPMORGAN CHASE and EDWYNA W         :
BROOKS d/b/a EW BROOKS BOOKS        :
LLC,                                :
                                    :
        Respondents.                :
----------------------------------- x

JED S. RAKOFF, U.S.D.J.

       For the reasons stated in the telephonic oral argument held

earlier today, see Transcript dated 1/25/2021, it is ordered that

respondent     JPMorgan     Chase    (“Chase”)      shall    not    sell,   assign,

transfer, dispose of, or otherwise interfere with any of petitioner’s

assets and/or monies being held in the Chase bank accounts of

petitioner pending the evidentiary hearing on petitioner’s motion

to vacate the restraining notice, now scheduled for Tuesday, February

16,    2021   at   9:30   a.m.,     provided,    however,      that    Chase     shall

immediately release to petitioner $29,521.42, which is to be used

by    petitioner   solely    for    the   purpose    of    paying     payroll.    Such

withdrawal shall be by check issued to petitioner The Dash Group LLC

and shall be picked up by a current signer on the account at the

Chase bank branch located at 13949 Ventura Blvd., Sherman Oaks, CA
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91423, on a date and time to be agreed to by Chase and petitioner.

     SO ORDERED.

Dated:    New York, NY
          January 27, 2021




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